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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

JOYCE BIRCH,                 §
     Plaintiff               §
                             §
V.                           §                                Civil Action No. 5:15-cv-448
                             §
STILLWATER INSURANCE COMPANY §
AND JIMMIE POSPISIL,         §
      Defendants.            §

                          DEFENDANTS’ NOTICE OF REMOVAL

       Defendants Stillwater Insurance Company (“Stillwater”) and Jimmie Pospisil (collectively,

the “Defendants”) file this Notice of Removal, pursuant to 28 U.S.C. sections 1332, 1441, and

1446, and would respectfully show the Court as follows:

                                        I. INTRODUCTION

       1.      On April 28, 2015, plaintiff Joyce Birch sued Stillwater and Pospisil in the 73rd

Judicial District Court of Bexar County, Texas, bearing Cause No. 2015CI06955 (the “State Court

Action”).1 Plaintiff’s petition is attached hereto as Exhibit A. Birch’s suit arises from her

dissatisfaction with the adjustment of an insurance claim she made under her homeowner’s policy

issued by Stillwater and handled by Jimmie Pospisil, an adjuster employed by Stillwater.

       2.      On May 5, 2015, Stillwater was served with the State Court Action. Exhibit A.

Defendants file this notice of removal with the 30-day time period allowed by 28 U.S.C. section

1446(b). See Bd. Of Regents of Univ. of Tex. Sys. v. Nippon Te. & Tel. Corp., 478 F.3d 274, 278



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  A mere five days earlier, on April 23, 2015, Joyce Birch sent Stillwater a demand letter, pursuant
to Texas Business & Commerce Code sections 17.41 and 17.46 (the “DTPA”). Despite the
statutory 60-day period granted a recipient of such a letter to evaluate the claim and respond, Birch
chose to immediately file suit. See DTPA § 17.505. Significantly, in her DTPA demand letter,
Birch demanded payment of $114,795.95, an amount placing this case within this Court’s
jurisdiction. The demand letter is attached as Exhibit B.
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(5th Cir. 2007).

       3.      Stillwater Insurance Company filed a general denial in the State Court Action on

May 26, 2015. Defendant Jimmie Pospisil has not been served with citation in the State Court

Action and has not filed an answer. Mr. Pospisil consents to the removal to federal court.

       4.      Defendants file this Notice of Removal pursuant to 28 U.S.C. section 1441(b),

which permits removal based on diversity jurisdiction. Section 1332 sets forth the factual

predicates justifying the exercise of diversity jurisdiction. Those requirements are: (1) complete

diversity of citizenship of all properly joined parties, and (2) an amount in controversy exceeding

$75,000. 28 U.S.C. § 1332(a).

                                     II. BASIS FOR REMOVAL

                            Amount in Controversy Exceeds $75,000

       5.      The amount in controversy in this case at the time of removal, exclusive of interest

and costs, exceeds $75,000.00. Plaintiff’s Original Petition asserts that Plaintiff’s claims arise

from wind and a hailstorm which caused significant damage to Plaintiff’s property, located at 4886

Aspenwood Drive, San Antonio, Texas 78219 (the “Property”). See Exhibit A at p. 2. In addition

to the damage to the Property, Birch also seeks additional actual damages, policy benefits,

consequential damages, treble damages under the DTPA, the 18% statutory penalty (pursuant to

Chapter 542 of the Texas Insurance Code), exemplary damages, and attorneys’ fees. See Exhibit

A at pp.18-19. Plaintiff’s Original Petition affirmatively states that the sum total of these damages

are “over $100,000 but not more than $200,000.” Exhibit A at pp.18-19 (emphasis added).

                       Diversity of Citizenship due to Improper Joinder

       6.      Removal based on diversity of citizenship may only be effectuated if none of the

parties in interest properly joined and served as defendants is a citizen of the State in which the




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action is brought. 28 U.S.C. § 1441. When an in-state defendant is improperly joined in a lawsuit

for the sole purpose of defeating diversity jurisdiction and the plaintiff cannot establish a cause of

action against the non-diverse defendant, his citizenship should be disregarded for purposes of

determining diversity.

       7.      According to Birch’s Original Petition, she is a resident of Bexar County, Texas.

See Exhibit A at p.1. Plaintiff is, therefore, a citizen of the State of Texas.

       8.      Defendant Stillwater is a California corporation with its principal place of business

in Jacksonville, Florida. Therefore, pursuant to 28 U.S.C. section 1332(c)(1), Stillwater is a citizen

of the states of California and Florida.

       9.      Defendant Pospisil is a resident of Texas. Pospisil is, therefore, a citizen of the

State of Texas. Pospisil, however, has been improperly joined in this lawsuit. Consequently, his

citizenship should be disregarded.

       10.     Here, Pospisil is an individual employed as an adjuster with Stillwater. Pospisil

took part in the adjustment of Birch’s claim. In her Original Petition, Birch asserts causes of action

collectively against Stillwater and Pospisil for (i) violations of Texas Insurance Code, chapter 542,

(ii) violations of the DTPA, (iii) unfair insurance practices, (iv) breach of good faith and fair

dealing, (v) fraud, (vi) conspiracy, (vii) aiding and abetting, (viii) negligence and gross negligence,

and (ix) negligent misrepresentation.2 Birch generally asserts that the conduct of “Defendants,”

collectively, gives rise to her claims, yet she fails to assert specific and actionable wrongdoing on

behalf of Pospisil. In fact, Birch’s ten causes of action are the predictable boilerplate found in

actions such as this when the sole material dispute is over the amount that insurer (Stillwater) paid



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  The only claim that Birch asserts that is not collectively against both Defendants, is her breach
of contract claim asserted against only Stillwater. Birch asserts no causes of action solely against
Pospisil.


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to its insured (Birch) based on an analysis of the claim and inspection of the actual damages. Given

that Birch cannot point to any actionable conduct solely attributable to Pospisil, and not his

employer, that caused Birch damages, naming Pospisil as a defendant has no purpose other than

destroying diversity. Consequently, there is no reasonable possibility of recovery against Pospisil

and, therefore, he has been improperly joined.

       11.        This Court has original jurisdiction over this action based on complete diversity, in

that Stillwater is now, and was at the time this action was commenced, diverse in citizenship from

Birch and is not a citizen of the State of Texas. Since Plaintiff Birch is a citizen of Texas and

Stillwater is a citizen of California and Florida, diversity of citizenship exists among the properly

joined parties.

                                       III. REMOVAL IS PROPER

       12.        Because there is complete diversity and the amount in controversy exceeds

$75,000, the Court has subject matter jurisdiction based on diversity of citizenship, pursuant to 28

U.S.C. section 1332. As such, this removal action is proper.

       13.        Under 28 U.S.C. section 1441(a), venue of the removed action is proper in the

United States District Court for the Western District of Texas, Austin Division, as the district and

division embracing Bexar County, the county in which the State Court Action is now pending.

       14.        Defendants will promptly give Plaintiff written notice of the filing of this Notice of

Removal as required by 28 U.S.C. section 1446(d).

       15.        Pursuant to 28 U.S.C. section 1446(d), Defendants will promptly file a copy of this

Notice of Removal with the Clerk of the 73rd Judicial District Court of Bexar County, Texas, where

the State Court Action is currently pending.

       16.        Plaintiff requested a jury trial in the State Court Action and represents that she has




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paid the requisite jury fee.

        17.     A certified copy of the record from the State Court Action is attached as Exhibit C

as required by 28 U.S.C. § 1446(a).

        18.     Moreover, copies of the following documents are hereby provided to the clerk for

filing in connection with the Notice of Removal:

        (1)     Executed Process of Service on Stillwater Insurance Company (Exhibit “A”);

        (2)     Pleadings asserting causes of action, e.g., petitions, counterclaims, cross actions,
                third-party actions, interventions, and all answers to such pleadings (Exhibit “C”);

        (3)     The docket sheet from the State Court Action (Exhibit “C”);

        WHEREFORE, Defendants respectfully request that the above-entitled action be removed

from the 73rd Judicial District Court of Bexar County, Texas to the United States District Court for

the Western District of Texas, Austin Division.

        Dated this 29th day of May, 2015.

                                              Respectfully submitted,

                                              KING LAW GROUP, PLLC

                                              By:    /s/ Mary Ellen King
                                              Mary Ellen King
                                              Texas State Bar No. 24067219
                                              Richard C. King Jr.
                                              Texas State Bar No. 24007491
                                              Kimberly A. Bishop
                                              Texas State Bar No. 24001742
                                              28515 Ranch Road 12
                                              Dripping Springs, Texas 78620
                                              406 Sterzing Street, Suite 202
                                              Austin, Texas
                                              Phone: 512.263.8212
                                              Fax: 512.900.2918
                                              meking@kinglitigationgroup.com
                                              rking@kinglitigationgroup.com
                                              kbishop@kinglitigationgroup.com

                                              Attorneys for Defendants Stillwater Insurance


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                                              Company and Jimmie Pospisil




                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of Defendants’ Notice of Removal has been
forwarded via facsimile on this the 29th day of May, 2015 to:

       Shelly L. Enyart
       SPEIGHTS & WORRICH
       1350 North Loop 1604 E., Suite. 104
       San Antonio, Texas 78232
       Telephone: (210) 495-6789
       Facsimile: (210) 495-6790

       Attorneys for Plaintiff, Joyce Birch


                                                    /s/ Mary Ellen King
                                                    Attorney for Defendants




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